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                                 UNITED STATES JUDICIAL PANEL
                                                                              F I LED
                                                  on                                ~At< t.   J 2015
                                  MULTIDISTRICT LITIGATION
                                                                            UNITED SlATES DISTRICT COURT
                                                                            NORTHERN rnSTRfCT Of AlABAMA

IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION                                                                              MOL No. 2595



                                   (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO -2)



On February 4, 2015, the Panel transferred 4 civil action(s) to the United States District Court for
the Northern District of Alabama for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.c. § 1407. See _F.Supp.3d_ (lP.M.L. 2015). Since that time, 4 additional action(s) have been
transferred to the Northern District of Alabama. With the consent of that court, all such actions have
been assigned to the Honorable Karon O. Bowdre.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Alabama and assigned to
Judge Bowdre.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on MuItidistrict
Liti(lation, the action(s) on the attached schedule are transferred under 28 U.S.c. § 1407 to the
Northern District of Alabama for the reasons stated in the order of February 4, 2015, and, with the
consent of that court, assigned to the Honorable Karon O. Bowdre.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Alabama. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7-day period, the stay will be continued until further order of the Panel.



   Inasmuch as no objection is                         FOR THE PANEL:


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   pending at this time, the
   stay is lifted.


   1Mar 23,20151                                       Jeffery N. Llithi
        CLERK'S OFFICE                                 Clerk of the Panel
           UNITED STATES
         JUDICIAL PANEL ON
      MULTIDISTRICT LITIGATION
   Case 2:15-cv-00483-KOB Document 4 Filed 03/24/15 Page 2 of 2
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IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION                                                             MOL No. 2595



                SCHEDULE CTO-2      TAG-ALONG ACTIONS



                   CtA.NO.      CASE CAPTION


OHIO NORTHERN

  OHN      4      15-00427      Keen v. Community Health Systems, Inc. et al

                                    CV-lS-BE-0483-S
